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               Defendant.




       It is hereby stipulated by and between the undersigned plaintiffs (meaning any person,

other than the defendant and the attorneys, signing this Stipulation for Compromise Settlement

and Release of Federal Tort Claims Pursuant to 28 U.S.C . 5 2677 (the "Agreement"), whether or

not a party to this civil action), and the United States of America, by and through their respective

attorneys, as follows:

        l.   The parties hereby agree to settle and compromise each and every claim of any kind,

whether known or unknown, arising directly or indirectly from the acts or omissions that gave

rise to the above-captioned action under the terms and conditions set forth in this Agreement.

       2.    The United States of America agrees to pay the sum             of $250,000.00 (to be

apportioned in plaintiffs' sole discretion), which sum shall be in   full settlement and satisfaction
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of any and all claims, demands, rights, and causes of action of whatsoever kind and           nature,


arising from, and by reason of any and all known and unknown, foreseen and unforeseen bodily

and personal injuries, damage to property and the consequences thereof, resulting, and to result,

from the subject matter of this settlement, including any claims for wrongful death, for which

plaintiffs or their guardians, heirs, executors, administrators, or assigns, and each of them, now

have or may hereafter acquire against the United States of America, its agents, servants, and

employees.

       3.    Plaintiffs and their guardians, heirs, executors, administrators or assigns hereby agree

to accept the sums set forth in this Agreement in full settlement, satisfaction, and release of any

and all claims, demands, rights, and causes of action of whatsoever kind and nature, including

claims for wrongful death, arising from, and by reason of any and all known and unknown,

foreseen and unforeseen bodily and personal injuries, damage to property and the consequences

thereof which they may have or hereafter acquire against the United States of America, its

agents, servants and employees on account       of the same subject matter that gave rise to      the


above-captioned action, including any future claim or lawsuit of any kind or type whatsoever,

whether known or unknown, and whether for compensatory or exemplary damages. Plaintiffs

and their guardians, heirs, executors, administrators or assigns further agree         to reimburse,

indemniff and hold harmless the United States of America, its agents, servants, and employees

from and against any and all such causes of action, claims, liens, rights, or subrogated or

contribution interests incident to or resulting from further litigation or the prosecution of claims

by plaintiffs or their guardians, heirs, executors, administrators or assigns against any third party

or against the United States, including claims for wrongful death.
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       4.    This Agreement for compromise settlement is not, is in no way intended to be, and

should not be construed as, an admission of liability or fault on the part of the United States, its

agents, servants, or employees, and      it is specifically   denied that they are liable to the plaintiffs.

This settlement is entered into by all parties for the purpose of compromising disputed claims

under the Federal Tort Claims Act and avoiding the expenses and risks of fuither litigation.

       5.    It is also   agreed, by and among the parties, that the respective parties      will   each bear


their own costs, fees, and expenses and that any attomeys' fees owed by the plaintiffs will be

paid out of the settlement amount and not in addition thereto.

       6.    It is also understood by and among the parties that pursuant to Title 28, United          States


Code, Section 2678, attorneys' fees for services rendered in connection with this action shall not

exceed 25 per centum of the amount of the compromise settlement.

       7.    The persons signing this Agreement warrant and represent that they possess full

authority to bind the persons on whose behalf they are signing to the terms of the settlement. [n

the event any plaintiff is a minor or a legally incompetent adult, the plaintiffs must obtain Court

approval of the settlement at their expense. Plaintiffs agree to obtain such approval in a timely

manner: time being of the essence. Plaintiffs further agree that the United States may void this

settlement at its option in the event such approval is not obtained in a timely manner. In the

event plaintiffs fail to obtain such Court approval, the entire Agreement are null and void.

        8.   Payment of the settlement amount        will be made by govemment wire transfer           as per


the following:

                           Name of Bank:
                           Street Address of Bank:
                           City, State andZip Code of Bank:
                           Federal Reserve Number:
                           Routing Number:
                           Name of Account:
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              G.      Account Number:

       plaintiffs' attomey agrees to distribute the settlement proceeds among the plaintiffs, and

to obtain a dismissal of the above-captioned action with prejudice, with each party bearing its

own fees, costs, and expenses.

       9. The parties agree that this Agreement, including all the terms and conditions of this

compromise settlement and any additional agreements relating thereto, may be made public in

their entirety, and the plaintiffs expressly consent to such release and disclosure pursuant to   5



U.s.C. $ ss2a(b).

       10. It is contemplated that this Agreement may be executed in several        counterparts,

with a separate signature page for each party. All such counterparts and signature         pages,


together, shall be deemed to be one document.




                                      Isignatures to follow]
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                             Deputy Chief, Civil Division
                             Assistant United States Attorney
                             Southern District of Georgia
                             Attorney for the United States of America




                             Assistant United States Attorney
                             Southern District of Georgia
                             Attorney for the United States of America
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                             Reynolds, Horne & Survant
                             Attorney for Plaintiffs
